        Case 2:22-mj-00045-DUTY Document 1 Filed 01/05/22 Page 1 of 1 Page ID #:1

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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                       CASE NUMBER                 ~ ~~~ O o v

                                               PLAINTIFE(S)              18-05039.02-CR-SW~BP
                                 v.

 RAYMOND S. WILLIAMS
                                                                              DECLARATION RE
                                            ~EFE~vDANT(s).                OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by: V1oLATION 1vOT[CE
in the Western                           D1str1[t of Missouri                              on 12/08!2021
at              (]a.m./ ❑ p.m. The offense was allegedly committed on or about ~2lo2/202 ~
in violation of Tide 1s                            U.S.C.,Sections) 3148
to wit: Pretrial Release Violation

A warrant for defendant's arrest was issued by: Honorable David P. Rush, U.S. Magistrate.

Bond of$                                 was pset /~ recommended.

Type of Bond:

Relevant documents) on hand (attach): Western District of Missouri Warrant and Pretrial Services Violation Report.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on        01/05/2022
                      Date


                                                                 $. BAGSIC
Signature     Agent                                              Print Name of Agent


United States Marshals Service                                   Deputy U.S. Marshal
Agency                                                           Title




CR-52(03/20                             DECLAAA7'ION REOUT-OF-DISTRICT WARRANT
